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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-1264V
                                          UNPUBLISHED


    CHRISTINE BARTON,                                           Chief Special Master Corcoran

                         Petitioner,                            Filed: September 15, 2021
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Influenza (Flu) Vaccine; Shoulder
                                                                Injury Related to Vaccine
                         Respondent.                            Administration (SIRVA)


Paul R. Brazil, Muller Brazil, LLP, Dresher, PA, for Petitioner.

Lynn Christina Schlie, U.S. Department of Justice, Washington, DC, for Respondent.


                                 DECISION AWARDING DAMAGES1

      On August 19, 2019, Christine Barton filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration, which meets the Table definition for SIRVA, after receiving an influenza
vaccine on December 8, 2016. Petition at 1, ¶¶ 2, 17. The case was assigned to the
Special Processing Unit of the Office of Special Masters.

        On February 19, 2021, a ruling on entitlement was issued, finding Petitioner
entitled to compensation for her SIRVA. On September 15, 2021, Respondent filed a
proffer on award of compensation (“Proffer”) indicating Petitioner should be awarded
$115,650.00, representing $115,000.00 for her pain and suffering and $650.00 for her
actual unreimbursable expenses. Proffer at 1. In the Proffer, Respondent represented

1
   Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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that Petitioner agrees with the proffered award. Id. Based on the record as a whole, I find
that Petitioner is entitled to an award as stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $115,650.00, representing $115,000.00 for her pain and suffering
and $650.00 for her actual unreimsurable expenses in the form of a check payable
to Petitioner. This amount represents compensation for all damages that would be
available under Section 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                    2
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             IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS
__________________________________________
                                           )
CHRISTINE BARTON,                          )
                                           )
                  Petitioner,              )
                                           )  No. 19-1264V (ECF)
v.                                         )  Chief Special Master Corcoran
                                           )
SECRETARY OF HEALTH                        )
AND HUMAN SERVICES,                        )
                                           )
                  Respondent.             )
__________________________________________)

               RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

          On February 19, 2021, respondent conceded that entitlement to compensation was

appropriate under the terms of the Vaccine Act. ECF No. 20. The same day, Chief Special

Master Corcoran issued a Ruling on Entitlement, finding that petitioner was entitled to vaccine

compensation for her Shoulder Injury Related to Vaccine Administration (“SIRVA”). ECF No.

22.

I.        Items of Compensation

          Based upon the evidence of record, respondent proffers that petitioner should be awarded

$115,650.00. The award is comprised of the following: $115,000.00 for pain and suffering, and

$650.00, for actual unreimbursable expenses. This amount represents all elements of

compensation to which petitioner would be entitled under 42 U.S.C. § 300aa-15(a). Petitioner

agrees.
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 II.       Form of the Award

          The parties recommend that compensation provided to petitioner should be made through

a lump sum payment of $115,650.00, in the form of a check payable to petitioner. Petitioner

agrees.

          Petitioner is a competent adult. Evidence of guardianship is not required in this case.

                                                       Respectfully submitted,

                                                       BRIAN M. BOYNTON
                                                       Acting Assistant Attorney General

                                                       C. SALVATORE D’ALESSIO
                                                       Acting Director
                                                       Torts Branch, Civil Division

                                                       HEATHER L. PEARLMAN
                                                       Deputy Director
                                                       Torts Branch, Civil Division

                                                       ALEXIS B. BABCOCK
                                                       Assistant Director
                                                       Torts Branch, Civil Division

                                                       /s/ LYNN C. SCHLIE
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Dated: September 15, 2021
